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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                          Chapter 11

BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
DELAWARE BSA, LLC, 1
                                                                (Jointly Administered)
                  Debtors.                                      Objection Deadline: May 1, 2020 at 4:00 p.m. (ET)


                 SUMMARY COVER SHEET OF FIRST MONTHLY
         APPLICATION OF ALVAREZ & MARSAL NORTH AMERICA, LLC FOR
                      ALLOWANCE OF COMPENSATION
           AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
              FEBRUARY 18, 2020 TO AND INCLUDING MARCH 31, 2020

Name of Applicant:                                            Alvarez & Marsal North America, LLC

Authorized to Provide Professional Services to:               Debtors and Debtors in Possession

Date of Retention:                                            February 18, 2020

Period for Which Compensation and
Reimbursement Are Requested:                                  February 18, 2020 – March 31, 2020

Amount of Compensation Requested:
                                                              $1,096,612.00 (80% of $1,370,765.00) 2

Amount of Expense Reimbursement Requested:                    $31,364.11


This is a(n): monthly          x    interim          final application




1
  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
  Pursuant to paragraph 7 of the Retention Order, A&M will apply the entire balance of the $784,862.72 retainer
held as of the Petition Date to the fees and expenses requested in this Application.
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                     COMPENSATION AND HOURS BY PROFESSIONAL

                            COMPENSATION BY PROFESSIONAL
                            February 18, 2020 through March 31, 2020
                                                                     BILLING      TOTAL       TOTAL
PROFESSIONAL           POSITION                   GROUP               RATE        HOURS 3      FEES
Brian Whittman       Managing Director   Restructuring                  $1,025      178.5    $182,962.50
Erin Covington       Managing Director   Public Sector                     $925      70.0     $64,750.00
Erin McKeighan       Managing Director   Case Management                   $850     190.9    $162,265.00
Tina Pederson        Senior Director     Disputes & Investigations         $600        2.7     $1,620.00
Carl Binggeli        Director            Restructuring                     $725     325.3    $235,842.50
Mark Zeiss           Director            Case Management                   $675        1.8     $1,215.00
April Kirksey        Director            Disputes & Investigations         $500        8.5     $4,250.00
Ryan Walsh           Senior Associate    Restructuring                     $650     312.9    $203,385.00
Julio Cifuentes      Associate           Restructuring                     $575     216.7    $124,602.50
Trevor DiNatale      Consultant          Case Management                   $550     126.8     $69,740.00
Emily Raab           Consultant          Case Management                   $525     336.9    $176,872.50
Gerard Gigante       Analyst             Case Management                   $475     301.6    $143,260.00
Total                                                                              2,072.6   1,370,765.00
                     Blended Rate:                                                                661.37




3
 A&M charged the Debtors for 50% of non-working travel time in compliance with Local Rule 2016-2(d)(viii).
Such reductions are reflected in the figures in this column.


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                 COMPENSATION AND EXPENSES BY PROJECT CATEGORY

                         COMPENSATION BY PROJECT CATEGORY
                           February 18, 2020 through March 31, 2020
                                                                                         Total     Total Fees
          Task Code                                Description                           Hours     Requested
Bankruptcy Support           Advise and assist the Debtors on matters concerning           295.9   $205,635.00
                             operating the business under Chapter 11 including
                             accounting cutoff, development and execution of work
                             plans, review of court documents and general case
                             management, reporting requirements, and support
                             counsel and others for Chapter 11 related items;
                             communications; other general administrative tasks
                             related to any Ch. 11 proceeding specific to Debtor's
                             enterprise.

Cash                         Assist the Debtors with the 13 week cash flow forecast,       161.7   $113,962.50
                             plan versus actual, DIP reporting requirements,
                             covenant compliance, and other financial analyses.
Contracts                    Assist the Debtors with contract analyses and the              18.0    $13,150.00
                             potential assumption or rejection of contracts.
Court                        Prepare for and attend the Debtors' hearings.                  67.5    $61,825.00
Financial Analysis           Ad-hoc financial analyses made at the request of               93.1    $69,450.00
                             various constituencies, including the Debtor.
Info Req                     Address information requests from, and attend                 236.8   $182,142.50
                             meetings and calls with, various constituencies
                             including lenders, unsecured creditors committee, and
                             advisors.
Litigation                   Support negotiations with Tort Claimants including             55.5    $31,142.50
                             any document discovery, mediation process, abuse
                             claims estimation.
MOR                          Assist the Debtors with the preparation of the Initial         37.2    $24,642.50
                             Debtor Interview requirements, Initial Operating
                             Report, Monthly Operating Report, and other related
                             matters for the US Trustee.
Motions/Orders               Complete analyses and assist the Debtors on various           196.7   $121,710.00
                             motions filed, and on entry of Orders to implement
                             required reporting and other activities contemplated by
                             the various filed motions.
Retention                    Prepare documents in compliance with Court retention           14.8    $10,535.00
                             requirements.
Statements & Schedules       Assist the Debtors with the creation and filing of            702.0   $395,522.50
                             Statements and Schedules with background
                             information and other related matters.
Status Meeting               Prepare for and participate in the Debtors regular status      64.5    $48,722.50
                             meetings including BOD meetings, update meetings
                             with management, and strategic meetings with Debtor
                             counsel and advisors.
Travel                       Billable travel time (reflects 50% of time incurred).          14.0    $12,450.00




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Vendor Management            Assist the Debtors with all vendor related items              114.9        $79,875.00
                             including, but not limited to vendor strategy,
                             negotiation, settlements, stipulations, critical vendors
                             and shippers/warehouseman agreements, and advising
                             Debtors' on general accounts payable questions.
Total                                                                                     2,072.6    $1,370,765.00


                                                                      Blended Rate:                        $661.37




                               EXPENSES BY CATEGORY

                       SUMMARY OF EXPENSES BY CATEGORY
                         February 18, 2020 through March 31, 2020
                      Expense Category                                                  Amount
Airfare                                                                                          $14,171.71
Lodging                                                                                          $11,173.78
Meals                                                                                               $2,337.35
Miscellaneous                                                                                        $488.48
Transportation                                                                                      $3,192.79
Total                                                                                            $31,364.11




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

BOY SCOUTS OF AMERICA AND                                      Case No. 20-10343 (LSS)
DELAWARE BSA, LLC, 4
                                                               (Jointly Administered)
                  Debtors.                                     Objection Deadline: May 1, 2020 at 4:00 p.m. (ET)


FIRST MONTHLY APPLICATION OF ALVAREZ MARSAL NORTH AMERICA, LLC
                       FOR ALLOWANCE OF
        COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
         THE PERIOD FROM FEBRUARY 18, 2020 TO MARCH 31, 2020

         Alvarez & Marsal North America, LLC (“A&M”), financial advisor for the Boy Scouts

of America and Delaware BSA, LLC, the non-profit corporations that are debtors and debtors in

possession (together, the “Debtors”) in the above-captioned chapter 11 cases, hereby submits this

first monthly application (this “Application”) requesting payment in the aggregate amount of

$1,127,976.11, which is equal to (a) 80% ($1,096,612.00) of the $1,370,765.00 of total

compensation earned by A&M for its services to the Debtors during the period from February

18, 2020 to and including March 31, 2020 (the “Fee Period”) and (b) 100% of the $31,364.11 of

necessary expenses incurred by A&M during the Fee Period in connection with its services to the

Debtors. In support of this Application, A&M respectfully represents as follows:

                                      JURISDICTION AND VENUE

         1.       The United States Bankruptcy Court for the District of Delaware (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the Amended Standing Order

of Reference from the United States District Court for the District of Delaware, dated February


4
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue

is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.      The statutory and other bases for the relief requested herein are sections 330 and

331 of chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy

Code”), rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), rule

2016-2 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

Court for the District of Delaware (the “Local Rules”), and the Order (I) Approving Procedures

for (A) Interim Compensation and Reimbursement of Expenses of Retained Professionals and (B)

Expense Reimbursement for Official Committee Members and (II) Granting Related Relief

[Docket No. 341] (the “Compensation Procedures Order”).

                                        BACKGROUND

       3.      On February 18, 2020 (the “Petition Date”), each of the Debtors filed a voluntary

petition with the Court for relief under chapter 11 of the Bankruptcy Code. The Debtors

continue to operate and maintain their non-profit organization and manage their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On

February 19, 2020, the Court entered an order [Docket No. 61] authorizing the joint

administration and procedural consolidation of the chapter 11 cases pursuant to Bankruptcy Rule

1015(b).

       4.      The Debtors retained A&M as their financial advisor, nunc pro tunc to the

Petition Date, pursuant to the Order Authorizing the Retention and Employment of A&M as

Financial Advisor for the Debtors and Debtors in Possession, Nunc Pro Tunc to the Petition

Date [Docket No. 355] (the “Retention Order”). The Retention Order authorizes the Debtors to




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compensate and reimburse A&M in accordance with the terms and conditions set forth in the

Debtors’ application to retain A&M, subject to A&M’s application to the Court.

        5.      On April 6, 2020, the Court entered the Compensation Procedures Order. The

Compensation Procedures Order provides, among other things, that each professional shall be

entitled, on or as soon as practicable after the fifteenth (15th) day of each month following the

month for which compensation and/or expense reimbursement is sought, to file and serve an

application for interim allowance of compensation earned and reimbursement of expenses

incurred during the preceding month (each a “Monthly Fee Application”). Parties shall have

fourteen (14) days after service of a Monthly Fee Application to file an objection to the

compensation or expenses that are the subject thereof (the “Objection Deadline”). Upon the

expiration of the Objection Deadline, the applicant may file a certificate of no objection (a

“CNO”) with the Court with respect to the unopposed portion of the fees and/or expenses

requested in the applicable Monthly Fee Application. After the filing of a CNO, the Debtors are

authorized and directed to pay the applicant an amount equal to 80% of the fees and 100% of the

expenses requested in the applicable Monthly Fee Application not subject to an objection.

                                        RELIEF REQUESTED

        6.      By this Application, in accordance with the Compensation Procedures Order,

A&M requests payment in the aggregate amount of $1,127,976.11, which is equal to (a) 80%

(i.e., $1,096,612.00) of the $1,370,765.00 of total compensation earned by A&M during the Fee

Period or its services to the Debtors and (b) 100% of the $31,364.11 of necessary expenses

incurred by A&M during the Fee Period in connection with its services to the Debtors. 5




5
 Pursuant to paragraph 7 of the Retention Order, A&M will apply the entire balance of the $784,862.72 retainer
held as of the Petition Date to the fees and expenses requested in this Application.


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                            SUMMARY OF SERVICES RENDERED

          7.    Attached hereto are the following schedules for compensation sought by A&M

for the Fee Period:

                Exhibit A            Summary of Time Detail by Task

                Exhibit B            Summary of Time Detail by Professional

                Exhibit C            Summary of Time Detail by Task by Professional

                Exhibit D            Time Detail by Activity by Professional

          8.    Exhibits A–D are detailed statements of the time expended and compensation

earned by A&M during the Fee Period. A&M’s professionals expended a total of 2,072.6 hours

in connection with these chapter 11 cases during the Fee Period. All services for which A&M is

requesting compensation were performed for or on behalf of the Debtors. The services rendered

by A&M during the Fee Period are categorized as set forth in Exhibits A–D and in the summary

cover sheets prefixed to this Application.    The professionals who provided services to the

Debtors during the Fee Period are also identified in Exhibits A–D and in the summary cover

sheets.

                            ACTUAL AND NECESSARY EXPENSES

      9.        Attached hereto are the following schedules for reimbursement of expenses

sought by A&M for the Fee Period:

                Exhibit E            Summary of Expense Detail by Category

                Exhibit F            Expense Detail by Category Professional

      10.       A&M incurred certain necessary expenses during the Fee Period for which it is

entitled to reimbursement under the terms of its retention. As set forth in greater detail in the

Exhibits E–F, A&M’s total expenses incurred during the Fee Period are $31,364.11.




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       11.     A&M does not charge for photocopying, printing, or outgoing domestic

facsimiles or incoming facsimiles.

                                 VALUATION OF SERVICES

        12.    The hourly rates reflected on Exhibits A–D are A&M’s customary hourly rates

for work of this character. The reasonable value of the services rendered by A&M for the Fee

Period as financial advisors to the Debtors in these chapter 11 cases is $1,370,765.00.

        13.    In accordance with section 330 of the Bankruptcy Code, the fees requested are

reasonable in light of factors including, among other things, (a) the complexity of these chapter

11 cases, (b) the time expended, (c) the nature and extent of the services rendered, (d) the value

of such services, and (e) the costs of comparable services other than in a case under this title.

        14.    Although A&M has made every effort to include all fees and expenses incurred

during the Fee Period in this Application, some fees and expenses might have been omitted from

this Application due to delays caused by accounting and processing during the Fee Period.

A&M reserves the right to submit further applications to the Court for allowance of such fees

and expenses not included herein. Subsequent fee applications will be filed in accordance with

the requirements of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and the

Compensation Procedures Order.

                            CERTIFICATION OF COMPLIANCE

        15.    The undersigned has reviewed the requirements of Local Rule 2016-2 and

certifies that, to the best of his knowledge, information and belief, this Application complies with

that rule.




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       WHEREFORE, A&M requests payment in the aggregate amount of $1,127,976.11,

which is equal to (a) 80% (i.e., $1,096,612.00) of the $1,370,765.00 of total compensation

earned by A&M during the Fee Period for its services to the Debtors and (b) 100% of the

$31,364.11 of necessary expenses incurred by A&M during the Fee Period in connection with its

services to the Debtors., for a total interim award of $1,127,976.11.


Dated: April 17, 2020                            Respectfully submitted,
       Wilmington, Delaware
                                                 ALVAREZ & MARSAL NORTH
                                                 AMERICA, LLC

                                                 /s/ Brian Whittman
                                                 Brian Whittman
                                                 Managing Director
                                                 540 W Madison
                                                 18th Floor
                                                 Chicago, IL 60661
                                                 Telephone: (312) 601-4227
                                                 bwhittman@alvarezandmarsal.com

                                                 FINANCIAL ADVISORS TO THE
                                                 DEBTORS AND DEBTORS IN
                                                 POSSESSION




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